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 1   RICHARD A. BESHWATE, JR. 179782
     Attorney at Law
 2   2014 Tulare Street, Suite 414
     Fresno, CA 93721
 3   Telephone: 559.266.5000
     Facsimile: 559.266.0507
 4
 5   Attorney for Defendant, ARTURO VILLALOBOS
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )     CASE NUMBER: 1:06-cr-00253 OWW
                                                      )
11                         Plaintiff,                 )
                                                      )     STIPULATION AND ORDER FOR
12   v.                                               )     RESETTING HEARING
                                                      )
13   ARTURO VILLALOBOS,                               )     Date:          June 25, 2007
                                                      )     Time:          1:30 p.m.
14                         Defendant.                 )     Courtroom:     Hon. Oliver W. Wanger
                                                      )
15
16           IT IS HEREBY STIPULATED between plaintiff, the United States of America, and the
17   defendant ARTURO VILLALOBOS by and through his attorney, that the Hearing set for Monday,
18   June 25, 2007 at 1:30 p.m. be vacated and set on JULY 9, 2007, at 1:30 p.m.
19            Time is to be excluded due to my unavailability pursuant to 18 USC 3161.
20                                                        Respectfully submitted,
21
22   DATED: June 19, 2007                                 /s/ Richard A. Beshwate, Jr.
                                                          RICHARD A. BESHWATE, JR.
23                                                        Attorney for Defendant,
                                                          ARTURO VILLALOBOS
24
25   ///
26
27
     U.S. v. ARTURO VILLALOBOS, et al.
28   STIPULATION AND ORDER FOR RESETTING SENTENCING
     CASE NUMBER: 1:06-cr-00253 OWW                                                                1
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 1   DATED: June 19, 2007                                 /s/ Virna Santos
                                                          VIRNA SANTOS
 2
 3                                                    Approved verbally by all parties on June 19, 2007
 4
 5
 6                                                ORDER
 7          In accordance with the stipulation, IT IS HEREBY ORDERED that the Hearing set for
 8   Monday, June 25, 2007, at 1:30 p.m. is VACATED and RESET for JULY 9, 2007, at 1:30 a.m. Time
 9   is excluded pursuant to 18 USC 3161.
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12
     IT IS SO ORDERED.
13
     Dated: June 20, 2007                             /s/ Oliver W. Wanger
14   emm0d6                                      UNITED STATES DISTRICT JUDGE
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     U.S. v. ARTURO VILLALOBOS, et al.
     STIPULATION AND ORDER FOR RESETTING SENTENCING
     CASE NUMBER: 1:06-cr-00253 OWW                                                                   2
